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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

MARY B. RUDOLPH, et al., Civil Action No. 3:11-CV-00617
Plaintiff,
JOSEPH M. MELDRICH SR.
Vv. AFFIDAVIT
BEACON INDEPENDENT LIVING LLC, et
al.,
Defendant.

 

 

Now Comes Joseph M. Meldrich Sr. and swears:
1. lam over the age of 18 years old.
2. lama citizen of North Carolina.

3. | want correct the record of my deposition taken on June 27, 2012 by Mr. Horner.
| have gone to Mr. Bleiman’s home on many occasions to discuss business about
The Beacon.

4. On June 26, we met to discuss some payroll items and the recent VA funds
deposit. We also discussed how | would provide my emails pertaining to The
Beacon. There were a lot of emails, and | wasn’t sure how to supply them. The
subpoena requested that all documents be produced in native/ES| format.
Neither of us knew what that meant. We discovered that some of the emails

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5. After the deposition, I was sequestered in a room with Horner and Snyder. In the room they
were making out like there was a serious fraud going on. I told them that my email file is backed
up every day and that I could recover those deleted emails. The following day I supplied Mr.
Snyder with 100% of all the emails pertaining to The Beacon.

6. There was no willful and wanton spoliation of evidence by Mr. Bleiman. I deleted the emails on
my computer. Mr.Bleiman didn’t delete anything or spoil any evidence.

7. Inthe normal course of my business I delete emails all the time.

8. Inthe 10 months that ’ ve known Mr.Bleiman I believe him to be a good and honest man. He has
expended thousands of hours of his time, sweat, and tears into The Beacon. He has never
received a dime for his efforts. He and his family have invested tens of thousands of dollars in
upgrades and cash loans to keep the facility open. Mary Rudolph and her gang have done
nothing but to commit a giant fraud against the Veterans Administration, the Social Security
Administration, the DSS and the IRS.

Further the Affiant sayeth not:

ed Hi Ale %.

Joseph M. Meldrich Sr.

 

J ula
SWORN to before me this_.3 day of May; 2012

Notary Public
Notary Pubtfe LO Mecklenburg Co., North Carolina
My Commission Expires Oct. 18, 2016

 

 

 

 

My Commission Expires: _/0 AU - 20%

 

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